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FILED IN UNITED ·sTATES DISTRICT]                                                  RtCEIVED CLERK
    COURT, DISTRICT OF UTAH       IN
                                          THE UNITED STATES DISTRICT COURT            OCT 3 0 2023
         OCT 3 U 2023                        FOR THE DISTRICT OF UTAH
                                                                                  U.S. DISTRICT COURT
          GARYP.SERDAR

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                 v.                                             Case No. 2:20-cr-00073-DS-1
           UNITED STATES OF AMERICA,
               Respondent


                           MOTION FOR REDUCTION IN SENTENCE PURSUANT TO
                             18 U.S.C. § 3582(c)(2) AND AMENDMENT 821
                                   TO THE SENTENCING GUIDELINES
                   Petitioner Sergio Sosa, an incarcerated, prose litigant,
           respectfully motions this Court for a reduction in his sentence
           pursuant to 18 U.S.C. § 3582(c)(2) and the "Zero Point Offenders"
           Provision of Amendment 821 to the United States Sentencing Guidelines.

                                                   BACKGROUND
                   Previously, this Court accepted my plea of guilty to violating
           26 U.S.C. § 7201, Tax Evasion and 26 U.S.C. § 7212(a), Obstruction
           of Internal Revenue Laws.               Pursuant to my Presentencing Report,
           this Court found that I had no prior criminal history and that my
           offense placed me in Offense Level 21 of the Sentencing guidelines.
           My offense level did not include any enhancements for the use or
           threats of violence, firearms, serious bodily injury or cause sub-
           stantial financial hardship as defined in the Sentencing Guidelines.
                   With zero Criminal History Points and an Offense Level of 21,
           my Guideline Range was 37 - 46 months.                   This Court selected the low
           end of this Guideline and sentenced me to 37 months of imprisonment.
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                         REQUEST FOR RELIEF
     Amendment 821 to the Sentencing Guidelines added a new
Guideline at§ 4C1.1, Adjustment for Certain Zero-Point Offenders.
This new Guidelines, which has been made retroactive, provides for
a decrease of two levels from the offense level previously deter-
mined for offenders such as myself who have no criminal history and
whose offense did not involve specific aggravating factors.
     As I meet these criteria, I respectfully request that this
Court reduce my offense level from 21 to 19 and resentence me to
the low end of this new Guideline range which is 30 - 37 months of
imprisonment.
     In further support of this request, since my self-surrender
on April 7th of this year, I have remained incident free and have
volunterred to serve as an interpreter for Spanish speaking inmates
when they meet with their Unit Team or the Institution's Medical
Staff.    In addition, I serve as the Institution's Spanish Language
GED Instructor and two of my students have already passed all parts
of their GED tests.    I have completed classes in Preparing for
Success After Prison and Living a Healthy Life with a Chronic Con-
dition.    I am also currently enrolled in Seven Habits, the Camp's
Threshold Program and Money Smart for Adults and Older Adults.

                                           Resp~~y submitted,

                                           Sergi Sosa, prose
                                           Reg. No. 40882-510
                                           Federal Prison Camp
                                           P.O. Box 5000
                                           Florence, CO 81226




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                                CERTIFICATE OF SERVICE
              I, Sergio Sosa, swear that on October-2,h, 2023, I served this
         Motion for Reduction in Sentence on the Clerk of the United States
         District Court for the District of Utah at the address shown below.
         This service was made by delivering an envelope containing the Motion
         to an authorized representative of the Federal Bureau of Prisons for
         inclusion in the Institution's Legal mail System.         Pre-paid, first-
         class postage was attached to the envelope.
         Office of the Clerk of Court
         United States District Court
            for the District of Utah
         351 S. West Temple
         Salt Lake City, UT 84101
         Dated:   October 2y, 2023
                                                        Sergio ~ s e
                                                        Reg. No. 40882-510
                                                        Federal Prison Camp
                                                        P.O. Box 5000
                                                        Florence, CO 81226




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                Reg. No. 40882-510                               1
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